






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00039-CR






Julian Flores, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 10-1754-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Julian Flores pled guilty to burglary with intent to commit sexual assault, the
State waived two other charges against him, and the trial court convicted him of burglary and sentenced
him to sixty years' imprisonment.  In the judgment of conviction, the trial court recites that appellant
waived his right to appeal, and the trial court has also certified that the cause is a plea bargain case in
which appellant has no right of appeal.  Thus, the appeal is dismissed.  See Tex. R. App. P. 25.2(d).


					___________________________________________

					David Puryear, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed

Filed:   February 10, 2012

Do Not Publish


